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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

In re:
                                                                 Case No. 16-25954- LMI
                                                                 Chapter 7
JORGE HANE,

              Debtor.          /

COLTEFINANCIERA, S.A. and                                        Adv. Pro. No. 17-01234-LMI
BLUE BANK INTERNATIONAL, N.V.,

              Plaintiff,

v.

JORGE HANE,

              Defendant.           /

                           ANSWER AND AFFIRMATIVE DEFENSES

         Defendant Jorge Hane (“Defendant”) files this Answer and Affirmative Defenses and

states as follows:

                           ANSWER TO NUMBERED ALLEGATIONS

         Paragraph 1. Admit.

         Paragraph 2. Admit.

         Paragraph 3. Admit.

         Paragraph 4. Admit.

         Paragraph 5. Admit.

         Paragraph 6. Admit that Defendant has owned and controlled entities relating to health

and wellness supplements and products. Deny any implication that Defendant made any

misrepresentations concerning same.
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       Paragraph 7. Admit that the Defendant resides in Bal Harbour, Florida, has in the past

lived in Columbia and has owned various businesses in his professional life. Defendant further

states as follows:

               a.    Admit that Defendant was the initial manager of JorgeHane Holdings,

                     LLC in 2011 and that the company was not scheduled. Deny that he had

                     any ownership interest in the entity on the Petition Date or that such entity

                     ever operated or accumulated assets. Deny any implication that Defendant

                     made any misrepresentations in connection with this entity.

               b.    Admit that Defendant had an interest in JorgeHane Laboratories Corp. and

                     that such company had no value on the Petition Date. Without knowledge

                     as to the remaining allegations. Deny any implication that Defendant made

                     any misrepresentations in connection with this entity.

               c.    Admit that JorgeHane Laboratories Colombia, S.A. was a Colombian

                     entity and that such entity was accurately described in the Defendant’s

                     bankruptcy schedules. Deny any implication that Defendant made any

                     misrepresentations in connection with this entity.

               d.    Admit that JorgeHane S.A. was an Argentinean entity at one point

                     affiliated with Defendant’s line of business products. Deny any

                     implication that Defendant made any misrepresentations in connection

                     with this entity.

               e.    Admit that JorgeHane Laboratories de Centroamerica S. de. R.L. was a

                     Panama entity at one point affiliated with Defendant’s line of business

                     products.       Deny    any   implication   that     Defendant   made    any

                     misrepresentations in connection with this entity.
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                 f.      Admit that Because it Works, LLC was a Florida entity owned by the

                         Defendant’s wife. Deny any implication that Defendant made any

                         misrepresentations in connection with this entity.

                 g.      Admit that Reduce-Fat-Fast.co LLC was a Florida entity owned by the

                         Defendant’s wife. Deny any implication that Defendant made any

                         misrepresentations in connection with this entity.

       Paragraph 8. Admit.

       Paragraph 9. Defendant states as follows:

                      a. Without information to admit or deny.

                      b. Without information to admit or deny.

                      c. Deny.

                      d. Without information to admit or deny.

                      e. Without information to admit or deny.

                      f. Without information to admit or deny.

                      g. Deny.

       Paragraph 10. Defendant states as follows:

                      a. Deny.

                      b. Without information to admit or deny.

                      c. Without information to admit or deny.

                      d. Deny.

                      e. Without information to admit or deny.

                      f. Deny.

       Paragraph 11. Admit.

       Paragraph 12. Admit.

       Paragraph 13. Admit as to the description of the requests. Deny as to the description of

the responses.
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       Paragraph 14. Deny.

       Paragraph 15. Admit that Defendant had business interests outside of the United States.

Deny that Defendant did not produce all requested documents.

       Paragraph 16. As above.

       Paragraph 17. Admit.

       Paragraph 18. This is a statement of law which Defendant neither admits nor denies.

       Paragraph 19. Deny.

       Paragraph 20. Deny.

       Paragraph 21. Deny.

       Paragraph 22. Deny.

       Paragraph 23. Deny.

       Paragraph 24. Deny.

       Paragraph 25. Deny.

       Paragraph 26. Deny.

       Paragraph 27. Deny.

       Paragraph 28. Deny.

       Paragraph 29. Without knowledge to admit or deny.

       Paragraph 30. Deny.

       Paragraph 31. Deny.

       Paragraph 32. Deny.

       Paragraph 33. Deny.

       Paragraph 34. Deny.

       Paragraph 35. As above.

       Paragraph 36. Admit.

       Paragraph 37. Deny.

       Paragraph 38. Deny.
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        Paragraph 39. Deny.

        Paragraph 40. Deny.

        Paragraph 41. As above.

        Paragraph 42. Admit.

        Paragraph 43. Deny.

        Paragraph 44. Deny

        Paragraph 45. Deny.

        Paragraph 46. Deny.

                                      First Affirmative Defense

        Plaintiffs have failed to state a cause of action upon which relief can be granted.

                                     Second Affirmative Defense

        Any errors or omissions in Defendant’s schedules or filings were unintentional and lacked

fraudulent intent.

                                      Third Affirmative Defense

        Plaintiffs’ claims under 11 U.S.C. §727 are barred by the doctrine of collateral estoppel. By

way of example and without limitation, it has already been judicially determined that the Defendant

produced sufficient documentation and made sufficient disclosure in this bankruptcy case.

                                     Fourth Affirmative Defense

        Plaintiffs’ claims under 11 U.S.C. §727 are barred by the doctrine of law of the case. By way

of example and without limitation, it has already been judicially determined that the Defendant

produced sufficient documentation and made sufficient disclosure in this bankruptcy case.

                                      Fifth Affirmative Defense

        Plaintiffs’ claims under 11 U.S.C. §727 are barred by the doctrine of waiver. By way of

example and without limitation, Plaintiffs failure to object to the Defendant’s settlement with the

Trustee constitutes a waiver of its rights to object to the Debtor’s discharge.
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                                     Sixth Affirmative Defense

       Any failure by the Defendant to preserve recorded documentation was justified under the

circumstances of the case. By way of example and without limitation, the Debtor’s inability to

produce documents relating to South American entities, if any, was the result of his inability to

obtain such documents.

                                    Seventh Affirmative Defense

       Plaintiffs’ claims under 11 U.S.C. §727 are barred by the doctrine of waiver. By way of

example and without limitation, Plaintiffs failure to file a motion to compel production or to

otherwise request relief from the Court constitutes a waiver of its rights to object to discharge

concerning same.

                                       Reservation of Rights

       Defendant reserves the right to amend or supplement his affirmative defenses upon

completion of discovery.

                           Attorney’s Local Rule 2090-1(A) Certification

       I hereby certify that I am admitted to the Bar of the United States District Court for the

Southern District of Florida and I am in compliance with the additional qualifications to practice

in this Court set forth in Local Rule 2090-1(A).

                                              HOFFMAN, LARIN & AGNETTI., P.A.
                                              Counsel for Defendant
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                                              North Miami, FL 33162
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                                              /s/ Michael S. Hoffman
                                              Michael S. Hoffman
                                              Florida Bar No.: 41164
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                                     Certificate of Service

       I hereby certify that a true and correct copy of the foregoing was served via CM/ECF to

Brian J. Recor, Esq. on December 6, 2017.


                                            /s/ Michael S. Hoffman
                                            Michael S. Hoffman
